      Case 1:25-cv-00887-RCL         Document 54   Filed 06/27/25   Page 1 of 13




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 PATSY WIDAKUSWARA, et al.,

               Plaintiffs,

        v.
                                                   Civil Action No. 25-1015 (RCL)
 KARI LAKE,
 Senior Advisor to the Acting CEO of the U.S.
 Agency for Global Media, et al.,

               Defendants.


MICHAEL ABRAMOWITZ, et al.,

              Plaintiffs,

       v.
                                                   Civil Action No. 25-0887 (RCL)
KARI LAKE,
Senior Advisor to the Acting CEO of the U.S.
Agency for Global Media, et al.,

              Defendants.




                 DEFENDANTS’ SUPPLEMENTAL RESPONSE TO
             PLANTIFFS’ MOTIONS FOR AN ORDER TO SHOW CAUSE
      Case 1:25-cv-00887-RCL          Document 54        Filed 06/27/25     Page 2 of 13




                                      INTRODUCTION

       Defendants Kari Lake, in her official capacity as a Senior Advisor to the Chief Executive

Officer (“CEO”) of United States Agency for Global Media (“Global Media”), Victor Morales, in

his official capacity as Acting CEO of Global Media, and Global Media, by and through counsel,

pursuant to the Court’s June 23, 2025, Order,1 file this supplemental response in further support

of their opposition to Plaintiffs’ motions for an order to show cause as to Defendants’ compliance

with the third prong of the Court’s April 22, 2025, preliminary injunction. On April 22, 2025, the

Court entered a preliminary injunction ordering that Defendants, “restore [Voice of America]

programming such that [Global Media] fulfills its statutory mandate that [Voice of America] ‘serve

as a consistently reliable and authoritative source of news, 22 U.S.C. § 6202(c).’” See

Widakuswara, Order at 2 (ECF No. 99); Abramowitz, Order at 3 (ECF No. 29). Simply put,

Defendants have restored Voice of American programming. Defendants have taken actual,

concrete steps since entry of the Court’s injunction to comply with this provision and continue to

comply with the Court’s injunction in good faith. In addition to the activities that Global Media

has already reported on, since the hearing on June 23, 2025, Global Media is increasing its Afghan

Service broadcasting to thirty-minutes a day.2 Global Media has also resumed publishing editorial



1
        The Court’s order requires Defendants to provide a supplemental filing with additional
information pertaining to Global Media’s recent activities, including any relevant information
about Global Media funding decisions, personnel updates, and submissions to Congress.
Abramowitz, June 23, 2025, Order (ECF No. 50); Widakuswara, June 23, 2025, Order (ECF No.
121). The Court is already in receipt of Ms. Lake’s letters to Congress dated June 3, 2025 (ECF
No. 120-2) and June 20, 2025 (provided by counsel for Plaintiffs during the Court’s June 23, 2025,
hearing), but nevertheless Defendants append a copy of them to this filing. On June 25, 2025, Ms.
Lake testified to the House of Representative’s Committee on Foreign Affairs regarding Global
Media’s activities. A recording of that testimony can be found here,
https://www.youtube.com/watch?v=Be_Ty1K5On8 (last visited June 26, 2025).
2
       The Office of Cuba Broadcasting has also continued its broadcasting operations, as
previously noted.


                                                2
       Case 1:25-cv-00887-RCL          Document 54        Filed 06/27/25      Page 3 of 13




content. See https://editorials.voa.gov/ (last visited June 26, 2025). Finally, as the attached

Declaration of Frank Wuco (“Wuco Decl.”) explains, Global Media is increasing its shortwave

radio broadacsting which will give Global Media more shortwave facility to broadcast into

Afghanistan.

       At bottom, Plaintiffs fail to show how Voice of America is purportedly failing to serve as

a “consistently reliable and authoritative source of news.” Widakuswara, Order at 2 (ECF No. 99);

Abramowitz, Order at 3 (ECF No. 29). Overall, their motions fail to provide concrete examples of

news they contend is neither “reliable” nor “authoritative.” Their motions focus on several other

aspects of the International Broadcasting Act, provisions that were not cited or relied upon by the

Court when issuing its injunction. The narrow question at this juncture is whether Defendants have

complied with the third provision of the Court’s injunction. The answer is yes. The Court should

accordingly dispense with Plaintiffs’ motions for an order to show cause. Further, as discussed

below, to the extent the Court considers any other type of relief (including a more severe remedy,

such as a finding of contempt or the initiation of contempt proceedings), the facts on the present

record do not support such drastic action, nor has the high standard for contempt been meet in this

circumstance.

                                          ARGUMENT

I.     Defendants Are Complying with the Court’s Order and the International
       Broadcasting Act’s Mandate that Voice of America Serve as a “Consistently Reliable
       and Authoritative Source of News”

       The Court’s April 22, 2025, injunction ordered: Defendants must restore Voice of America

programming such that Voice of America will “serve as a consistently reliable and authoritative

source of news.” Abramowitz, Order at 3; Widakuswara, Order at 2. The Court notably did not

order—contrary to Plaintiffs suggestion—that Voice of America restore its broadcasting as it

existed prior to March 14, 2025, nor did the Court order that Voice of America broadcast in specific


                                                 3
       Case 1:25-cv-00887-RCL           Document 54        Filed 06/27/25      Page 4 of 13




languages, specific regions of the world, put out specific content, or purport to direct Voice of

America exactly how to fulfill its statutory mandate. For good reason—the Court left those

decisions to the Agency—decisions that fall comfortably within an executive agency’s discretion.

To the extent the Court now believes that Voice of America is somehow not fulling its statutory

mandate to “serve as a consistently reliable and authoritative source of news,” 22 U.S.C. § 6202(c),

it should explain exactly how Defendants efforts have purportedly failed to meet that statutory

standard, and how exactly Defendants have failed to comply with the Court’s order. Notably, that

standard is not defined within the confines of the International Broadcasting Act, nor did the Court

define its terms in issuing a preliminary injunction.

       Context in this circumstance is important. The International Broadcasting Act was signed

into     law      on      April      30,      1994.      See       https://www.usagm.gov/who-we-

are/oversight/legislation/international-broadcasting-act/ (last visited June 26, 2025). It was passed,

in part, to streamline international broadcasting and place control of international broadcasting

under the U.S. Agency for Global Media. See generally id. The 1994 Act also specifically

incorporated Voice of America’s Charter (see 22 U.S.C. § 6202(c)), which was created in 1976.

Viewing the statute through this lens—that is, as it existed in 1976 and 1994, broadcasting

capabilities, broadcasting expectations, and reliance on news was not how it exists in 2025. The

world looked markedly different back then—radio and television broadcasting were mainstream;

there existed no social media, no Twitter (or “X”), YouTube, TikTok, Instagram, Facebook, or the

like. Cell phones were limited; people did not share information at the click of a button while on

the go, nor were people tied their smart phones on a twenty-four-seven basis. The bottom line,

information sharing was limited. Undoubtedly, that is no longer the situation today in 2025. This

framework is relevant to understanding how Voice of America’s current programming is wholly




                                                  4
       Case 1:25-cv-00887-RCL          Document 54       Filed 06/27/25      Page 5 of 13




reasonable and consistent with the statute’s rationale, and comfortably in compliance with its

directive to serve as a “consistently reliable and authoritative source of news.” Id. § 6202(c)(1).

While times may have changed, for its part, the International Broadcasting Act, has not.

       Plaintiffs’ arguments in opposition are premised on an overly expansive reading of the

Court’s preliminary injunction. For example, Plaintiffs argue that Defendants fail to broadcast to

other regions of the world such as South and Central America, or Africa. But they point to no

statutory provision that mandates such action, nor did the Court order as much in its injunction.3

Rather, they rely on a general broadcasting principle that broadcasting include “information about

developments in each significant region of the world.” 22 U.S.C. § 6202(b)(6). In the absence of

any clear directive, it begs the question as to how Defendants have purportedly failed to comply

with the terms of the Court’s order.

       Nevertheless, as Voice of America’s operations demonstrate, they are reaching audiences

in Central America. As the Wuco Declaration explains, the Office of Cuba Broadcasting transmits

Spanish-language radio and television programming into Cuba using a variety of platforms to

maximize reach and accessibility. Wuco Decl. ¶ 19. These methods include satellite transmissions

via Telstar 12, social media dissemination across Facebook, YouTube, and Instagram, and live

feeds available through the Martínoticias.com website for both television and radio. Id.

Additionally, Cuba Broadcasting utilizes medium wave radio broadcasting on 1180 AM from

Marathon Key, Florida. Id. Cuba Broadcasting produces three hours of original content daily,

which is then broadcast in a continuous 4-hour loop to ensure wider audience availability across




3
       Plaintiffs also reference the purported lack of broadcasting in North Korea, but as they
themselves recognize, the statutory language surrounding North Korea indicates that it is “the
sense of Congress,” and therefore does not impose a mandatory requirement upon Global Media.
See 22 U.S.C. § 7813.


                                                5
       Case 1:25-cv-00887-RCL          Document 54        Filed 06/27/25      Page 6 of 13




different time slots. Id. Cuba Broadcasting likewise also carries relevant news to the U.S. national

interest into Venezuela and Nicaragua. Id. The Telstar 12 footprint covers all Latin America and

the Caribbean. And, as of June 27, 2025, Voice of America has recommenced shortwave radio

broadcasts from the Edward R. Murrow Shortwave Transmitting Station in Greenville, South

Carolina. Id. This shortwave signal blankets all Latin America and the Caribbean. Id.

       As Defendants explained in the declaration of Leili Soltani, Global Media is broadcasting

in four languages, Mandarin, Dari, Pashto and Farsi. See generally Soltani Decl. (Widakuswara,

ECF No. 117-1). When the International Broadcasting Act was passed in 1994, most Americans

were still receiving their television news in 30-minute cycles from the national nightly news. See

https://usinfo.org/usia/usinfo.state.gov/usa/infousa/media/media2cd.htm (last visited June 26,

2025). For example, in the 1990s (and continuing to today) ABC news produces a nightly news

program (‘ABC World News Tonight”) that consistently runs for 30 minutes with commercial

breaks. See https://abcnews.go.com/world-news-tonight-with-david-muir (last visited June 26,

2025) (identifying thirty-minute news segments). CBS also runs the CBS Evening News for thirty-

minutes (https://www.cbsnews.com/evening-news/) (last visited June 26, 2025), as does NBC,

https://www.nbcnews.com/nightly-news (last visited June 26, 2025).

       Global Media is in line with these standards—indeed, these news stations, as well as

several others, often tout themselves as reliable and authoritative sources of news. In line with

these principles, on June 30, 2025, if not sooner, Global Media will increase its Afghan Service

programming to thirty minutes. See Wuco Decl. ¶ 5. Global Media initiated a five-minute

broadcast (two and a half minutes, each, in Dari and Pashto) on May 28, 2025. Id. ¶ 5. On June 6,

2025, the Afghan broadcast was increased to ten minutes (five minutes, each, in Dari and Pashto).

The thirty-minute broadcast will feature fifteen minutes of news in each of the Dari and Pashto




                                                 6
       Case 1:25-cv-00887-RCL           Document 54        Filed 06/27/25      Page 7 of 13




languages, with identical content in each language. As the Wuco Declaration explains, the content

is written in English and then translated into Dari and Pashto; a tedious process that requires twenty

minutes of work translating and rehearsing for each minute of content written in English. Id. The

content is broadcast live from Voice of America studios in the Wilbur J. Cohen building in

Washington, DC, by two native-level Dari and Pashto hosts. Id. ¶ 8. The signal is carried by

satellite (Yahsat Sat Service) to Global Media’s Kuwait Shortwave Transmission Station and

broadcast live into all of Afghanistan. Id. As the Wuco Declaration attests, receiving or monitoring

stations in New Delhi, India and in Dushanbe, Tajikistan, confirm that Global Media shortwave

transmission blankets all of Afghanistan (and somewhat beyond), daily. Id.

       In addition, the program is also carried on the following FM affiliate stations in

Afghanistan, all of which were contacted and added after the initial days of broadcasting had

begun: FM Radio Raihan (with an estimated audience of 120,000). Id. ¶ 9. Broadcast coverage

includes the center of the Takhar province and sixteen of its districts, including Khan Abad district

in the Kunduz province. There is also coverage through FM Pamir Radio (estimated audience of

400,000), and coverage includes Badakhshan province, including Fayzabad city, Argo, Khash,

Yaftal-e Bala, Yaftal-e Payin, and Arghanjkhwah. Id. There is also coverage through FM Radio

Sar E Pul (with an estimated audience of 150,000) and that coverage includes Sarepul City, District

of Sayed, District Soz Ma Gala, District Sayed Abad. Id. Finally, FM Mehran Radio (there is an

estimated audience of 65,000. Id. Coverage includes Jawzjan province, including Aqcha, Khwaja

Dukoh, Mardian, and Khanqah, Northern Afghanistan. Id.

       Mr. Wuco also explains that Global Media will also be increasing its editorial program.

Wuco Decl. ¶¶ 16-18. As such, Global Media intends on soliciting editorial content interagency,

and from subject matter experts elsewhere, where they may offer comment and discourse on




                                                  7
       Case 1:25-cv-00887-RCL           Document 54         Filed 06/27/25      Page 8 of 13




various content pieces transmitted and published by Voice of America. Id. ¶ 16-18. Global Media

anticipates that its renewed editorial program will commence sometime after July 4, 2025. Id.

       In addition, consistent with its statutory requirements, Global Media will also devote

certain programming on the individual states of the United States. See Pub. L. 105-277, 112 Stat.

2681-835 (1998) (noting that Voice of America shall devote programming each day to

broadcasting certain information on the individual states of the United States, including

information on products, tourism, and cultural and educational facilities in each state); Wuco Decl.

¶¶ 11-15. Global Media is also organizing links to YouTube videos of state tourism and other

channels, so that they may be reposted on its digital platforms, with posting to begin sometime

during the week of June 30, 2025. Id. ¶ 15.

       Further, as explained during the hearing on June 23, 2025, Voice of America retains the

capability, with its lean staff, to respond to events as they are happening around the world. For

example, within hours of the commencement of Israeli air operations against Iran, Voice of

America began detailed coverage of the strikes on the Persian digital platforms. Wuco Decl. ¶¶ 3-

4. This was steadily streaming on Voice of America websites, as well as on numerous social media

platforms. Id. ¶ 4. In less than 24 hours, Voice of America began television coverage. Id. On June

21, 2025, Voice of America also aired coverage following the U.S. airstrikes on Iran’s nuclear

facilities, including the President’s address, which was carried live, and simultaneously translated.

Id. Voice of America’s Persian Service’ television broadcasts are carried by satellite into Iran and

the Greater Middle East via several satellites. Id. ¶ 4. Additionally, all content is posted to several

of Voice of America’s Persian Service social media accounts. Id. Recognizing that Voice of

America may need to staff up as need arises, Global Media has exercised recalls, as appropriate,




                                                  8
       Case 1:25-cv-00887-RCL            Document 54          Filed 06/27/25    Page 9 of 13




and is initiating internal details and hiring Personal Services Contractors as needed, to maintain

required levels of statutorily required activity. Id. ¶ 20.

        Finally, the Court requested that Defendants provide any additional “relevant information”

pertaining to Global Media personnel updates. Widakuswara, Order at 2. Presently, Global Media

has approximately 209 active personnel. Wuco Decl. ¶20; see also Ex. 1 to Wuco Decl. A

breakdown of the offices where those employees work is included in Exhibit 1. As it demonstrates,

Global Media currently has 86 employees working for Voice of America and the Office of Cuba

Broadcasting. These numbers are anticipated to change with anticipated flux, including a reduction

in force, and as Global Media responds to current events as needed. Id.4

II.     There is No Evidence to Support the High Standard of Contempt or Sufficient to
        Initiate Contempt Proceedings

        To begin, it is important to note that neither set of Plaintiffs raised the concept of contempt

as part of their requested relief sought through the motions at issue. See Abramowitz, Pls.’ Mot. at

8-9 (outlining a request for additional information as to how Defendants will meet statutory

mandates) (ECF No. 37); id., Pls.’ Reply Proposed Order at 1-2 (requesting that the Court order

Defendants to provide additional information as to their plan for Global Media) (ECF No. 49-1);

Widakuswara, Pls.’ Mot. at 9-10 (requesting that the Court order Defendants to provide additional

information regarding their resumption of activities and noting that they “reserved the right” to

seek contempt in the future) (ECF No. 112); id., Proposed Order (suggesting that the Court order

Defendants to provide additional information regarding their broadcasting activities and

compliance with the Court’s order) (ECF No. 112-1); id., Pls.’ Reply (same) (ECF No. 120).

        When the parties appeared for a hearing before the Court on June 23, 2025, the Court raised

the specter of contempt. Yet this is undoubtedly not the procedural posture in which the parties


4
        Should this change, Defendants will supplement their filing accordingly.


                                                   9
      Case 1:25-cv-00887-RCL           Document 54        Filed 06/27/25      Page 10 of 13




find themselves. Plaintiffs’ motions sought only more information, including a detailed plan

regarding Defendants activities. Notably, they did not style their motions as seeking enforcement

of the Court’s prior order—instead, the gravamen of their requests has been that Defendants be

ordered to provide additional information as to how they are complying with the Court’s orders

and Global Media’s organic statute.5 Yet a court asked to enforce a prior order should only grant

the motion when a “prevailing plaintiff demonstrates that a defendant has not complied with a

[prior order] entered against it.” Heartland Hosp. v. Thompson, 328 F. Supp. 2d 8, 11 (D.D.C.

2004). At all times, the Court should demand an appropriate showing before granting any relief

and wield its powers with care and due recognition for enforcing its command without any gloss.

See Flaherty v. Pritzker, 17 F. Supp. 3d 52, 55 (D.D.C. 2014) (cleaned up); Int’l Ladies’ Garment

Workers’ Union v. Donovan, 733 F.2d 920, 922 (D.C. Cir. 1984). That is especially so when

matters of interbranch comity are at issue. The central question is whether the plaintiff has

“received all relief required” by the Court’s prior order. Heartland Hosp., 328 F. Supp. 2d at 11.

In this case, the Court commanded that Voice of America restore its programming—Voice of



5
        The Widakuswara Plaintiffs also raised a demand that Defendants produce documents and
for discovery under Federal Rule of Civil Procedure 26. But as Defendants noted, the Court’s entry
of is preliminary injunction was premised on its belief that Plaintiffs were likely to succeed on the
merits of their Administration Procedure Act (“APA”) claims. It is well settled that APA claims
are reviewed on the administrative record—no more and no less. Oceana, Inc. v. Ross, 290 F.
Supp. 3d 73, 82–83 (D.D.C. 2018); Hill Dermaceuticals, Inc. v. FDA, 709 F.3d 44, 47 (D.C. Cir.
2013) (“[I]t is black-letter administrative law that in an APA case, a reviewing court ‘should have
before it neither more nor less information than did the agency when it made its decision.’”). While
Plaintiffs argue that they would be entitled to discovery on their constitutional claims, including
claims arising under the First Amendment, Plaintiffs provide no explanation as to why would be
entitled to discovery during the injunctive phase regarding Defendants compliance with claims
that lack any relevance to this analysis. The Court did not enter the injunction on the First
Amendment claim—it chose not to reach the merits of that claim in issuing its injunction. Mem.
Op. at 16 (Widakuswara, ECF No. 98). Simply put, the fact that Plaintiffs have asserted claims
that may afford them discovery at some point in the future on other claims does not support a
finding of entitlement to discovery in what is a record-review claim regarding Defendants
compliance with the Court’s injunction.


                                                 10
      Case 1:25-cv-00887-RCL          Document 54        Filed 06/27/25     Page 11 of 13




America did so. The Court also commanded that Voice of America “serve as a consistently reliable

and authoritative source of news,” 22 U.S.C. § 6202(c), and while the parties may dispute what

those undefined statutory terms mean or require—Defendants have not failed to comply with any

clear or unambiguous directive.

        “Civil contempt will lie only if the putative contemnor has violated an order that is clear

and unambiguous,” Project B.A.S.I.C. v. Kemp, 947 F.2d 11, 16 (1st Cir. 1991), and the violation

must be proved by “clear and convincing” evidence. Washington–Baltimore Newspaper Guild,

Local 35 v. Washington Post Co., 626 F.2d 1029, 1031 (D.C. Cir. 1980); Armstrong v. Exec. Off.

of the Pres., Off. of Admin., 1 F.3d 1274, 1289 (D.C. Cir. 1993). Clear and convincing evidence in

the context of civil contempt means “a quantum of proof adequate to demonstrate to a ‘reasonable

certainty’ that a violation has occurred.” Levin v. Tiber Holding Corp., 277 F.3d 243, 250 (2d Cir.

2002); see also SEC v. Bilzerian, 613 F. Supp. 2d 66, 70 (D.D.C. 2009). “Furthermore, if the order

contains any ambiguities, the Court must resolve those issues in favor of the party against whom

contempt is sought.” Broderick v. Donaldson, 338 F. Supp. 2d 30, 47 (D.D.C. 2004) (citing United

States v. Microsoft Corp., 980 F. Supp. 537, 541 (D.D.C. 1997)). The order is to be interpreted

using an objective test that considers the plain language of the order and the circumstances

surrounding its issuance. Cobell v. Babbitt, 37 F. Supp. 2d 6, 16 (D.D.C. 1999) (citing United

States v. Young, 107 F.3d 903, 907 (D.C. Cir. 1997)). The movant bears the initial burden of

demonstrating by clear and convincing evidence that: (1) there was a clear and unambiguous court

order in place; (2) that order required certain conduct by Defendants; and (3) Defendants failed to

comply with that order. Int’l Painters & Allied Trades Indus. Pension Fund v. ZAK Architectural

Metal & Glass LLC, 736 F. Supp. 2d 35, 38 (D.D.C. 2010).




                                                11
      Case 1:25-cv-00887-RCL           Document 54       Filed 06/27/25      Page 12 of 13




       Neither Plaintiffs have moved on these grounds, and there is no such clear and convincing

evidence here. Defendants restored programming to Voice of America as quickly as practicable

following entry of the Court’s injunction. This is underscored by the significant logistics Global

Media had to undertake to recall its personnel, reactive network access, and ensure an orderly

transition back into Global Media’s offices. See April 24, 2025, Declaration of Crystal Thomas

¶¶ 3-10 (ECF No. 102-2). Nor have Plaintiffs pointed to any clear and convincing evidence that

Defendants have violated the Court’s preliminary injunction. Moreover, where an order contains

any ambiguities, this Court is required to resolve those ambiguities in favor of Defendants. The

Court did not define what it means to serve as a “consistently reliable and authoritative source of

news.” Widakuswara, Order at 3; Abramowitz, Order at 2. The International Broadcasting Act

similarly does not define these terms. And undoubtedly, measuring Voice of America’s

compliance against its activities during a previous administration is not the measure of compliance.

Priorities and activities shift from administration to administration. Simply because Voice of

America operated one way in 2024 does not require the Agency to continue operating in the same

way in 2025, absent a statutory mandate to do so. As previously explained, Defendants are putting

out content, producing programming, and broadcasting in Dari, Pashto, Farsi, and Mandarin, as

well as through the Office of Cuba Broadcasting. And indeed, to increase its broadcasting, Voice

of America has now increased its Persian service to thirty-minutes of programming a day, and is

in the process of adding editorial content, among others. Wuco Decl. ¶¶ 5, 11-18. This evidence

could hardly suggest that there is clear and convincing evidence to support a finding of contempt,

or even to initiate contempt proceedings. To the extent the Court has any concerns regarding

Defendants compliance, it should implement appropriately tailored relief, allowing Defendants

notice and an opportunity to be heard as to the grounds of any such relief. And it should further




                                                12
      Case 1:25-cv-00887-RCL         Document 54        Filed 06/27/25     Page 13 of 13




adequately explain exactly why the Court is of the belief that Defendants are not complying with

the injunction in place.

                                        CONCLUSION

       For the reasons explained here and in Defendants’ opposition to Plaintiffs’ motions to show

cause, the Court should deny the motions.

 Dated: June 27, 2025                          Respectfully submitted,
        Washington, DC
                                               JEANINE FERRIS PIRRO
                                               United States Attorney

                                               BRIAN P. HUDAK
                                               Chief, Civil Division

                                               By: /s/ Brenda González Horowitz
                                                   BRENDA GONZÁLEZ HOROWITZ
                                                   D.C. Bar No. 1017243
                                                   STEPHANIE R. JOHNSON
                                                   Assistant United States Attorneys
                                                   601 D Street, NW
                                                   Washington, DC 20530
                                                   Main: (202) 252-2500

                                               Attorneys for the United States of America




                                               13
